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                    Exhibit F
Case 8:20-mc-00127 Document 1-8 Filed 12/21/20 Page 2 of 33 Page ID #:83
                Case 8:20-mc-00127 Document 1-8 Filed 12/21/20 Page 3 of 33 Page ID #:84
                 REDACTED VERSION OF DOCUMENT PROPOSED TO BE FILED UNDER SEAL
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 2:20-CV-00078-JRG

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            u I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            u I returned the subpoena unexecuted because:
                                                                                                                                                     .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                0.00   .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                           EXHIBIT A

                                          DEFINITIONS

       1.      The terms “you” or “your” mean Acacia Research Corporation, LLC, and its

officers, directors, current and former employees, counsel, agents, consultants, representatives,

and any other persons acting on behalf of any of the foregoing; as well as its affiliates, parents,

divisions, joint ventures, licensees, franchisees, assigns, predecessors and successors in interest,

and any other legal entities, whether foreign or domestic, that are owned, controlled by, or under

common control with it, and all predecessors and successors in interest to such entities.

       2.      The term “ARC” means Acacia Research Corporation, LLC, its officers,

directors, current and former employees, counsel, agents, consultants, representatives, and any

other persons acting on behalf of any of the foregoing.

       3.      The term “CCE” means Cellular Communications Equipment, LLC and its

officers, directors, current and former employees, counsel, agents, consultants, representatives,

and any other persons acting on behalf of any of the foregoing.

       4.      The term “Affiliates” means any entity, including parent companies and

majority-owned subsidiaries, now or hereafter acquired or formed that is directly or indirectly

controlled by a party, or is under common control with a party, or is an entity that controls a

party, as well as all predecessors and successors of such entities. For this purpose “control”

means direct or indirect ownership of, or the right to exercise, at least 50% of the voting power,

or at least 50% of the ownership interest representing either the irrevocable right to name a

majority of the members of the governing body of such entity, or the right to make binding

decisions for the entity.




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       5.      The term “Acacia” means ARC and its past, present and current Affiliates.

       6.      The term “Acacia Entities” means (a) Acacia and (b) any current or future

corporation, company, partnership or other legal entity that Acacia presently or in the future

directly or indirectly owns or controls.

       7.      The term “’923 patent” means United States Patent No. 7,218,923.

       8.      The term “Starboard” means Starboard Value Intermediate Fund LP, and its

officers, directors, current and former employees, counsel, agents, consultants, representatives,

and any other persons acting on behalf of any of the foregoing; as well as its affiliates, parents,

divisions, joint ventures, licensees, franchisees, assigns, predecessors and successors in interest,

and any other legal entities, whether foreign or domestic, that are owned, controlled by, or under

common control with it, and all predecessors and successors in interest to such entities.

       9.      The term “this litigation” means ​Cellular Communications Equipment LLC v.

HMD Global Oy, ​No. 2:20-cv-00078 (E.D. Tex.).

       10.     The term “other CCE litigation” means any litigation concerning CCE, including

Cellular Communications Equipment LLC v. TCL Corporation, ​No. 2:20-cv-00080 (E.D. Tex.),

Cellular Communications Equipment LLC v. One Plus Technology Co. LTD​, No. 2:20-cv-00079

(E.D. Tex.), ​Cellular Communications Equipment LLC v. AT&T Inc.​, No. 2:15-cv-00576 (E.D.

Tex.), ​Cellular Communications Equipment LLC v. Samsung Electronics Co., Ltd.,​ No.

2:15-cv-00579 (E.D. Tex.), ​Cellular Communications Equipment LLC v. T-Mobile USA, Inc.,

No. 2:15-cv-00580 (E.D. Tex.); ​Cellular Communications Equipment LLC v. Verizon

Communications, Inc.​, No. 2:15-cv-00581 (E.D. Tex.); ​Cellular Communications Equipment

LLC v. HTC Corporation​, No. 2:17-cv-00078 (E.D. Tex.); ​Cellular Communications Equipment




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LLC v. ZTE Corporation​, No. 2:17-cv-00079 (E.D. Tex.); ​Cellular Communications Equipment

LLC v. HTC Corporation​, No. 3:15-cv-02373 (S.D. Cal.); ​Cellular Communications Equipment

LLC v. ZTE Corporation​, No. 3:17-cv-02805 (N.D. Tex.); ​Cellular Communications Equipment,

LLC v. Cellco Partnership, Inc.​, 3:18-cv-00623 (N.D. Tex.), ​Cellular Communications

Equipment LLC v. HTC Corporation​, No. 6:13-cv-00507 (E.D. Tex.); ​Cellular Communications

Equipment LLC v. LG Electronics, Inc.,​ No. 6:13-cv-00508 (E.D. Tex.); ​Cellular

Communications Equipment LLC v. Pantech Co., Ltd.​, No. 6:13-cv-00509 (E.D. Tex.); ​Cellular

Communications Equipment LLC v. BlackBerry Limited,​ No. 6:13-cv-00510 (E.D. Tex.);

Cellular Communications Equipment LLC v. ZTE Corporation,​ No. 6:13-cv-00511 (E.D. Tex.);

Cellular Communications Equipment LLC v. Amazon.com, Inc.​, No. 6:13-cv-00568 (E.D. Tex.);

Cellular Communications Equipment LLC v. Dell Inc.​, No. 6:13-cv-00569 (E.D. Tex.); ​Cellular

Communications Equipment LLC v. Motorola Mobility LLC​, No. 6:13-cv-00572 (E.D. Tex.);

Cellular Communications Equipment LLC v. NEC CASIO Mobile Communications, Ltd.​, No.

6:13-cv-00584 (E.D. Tex.); ​Cellular Communications Equipment LLC v. Microsoft Corporation,

No. 6:13-cv-00738 (E.D. Tex.); ​Cellular Communications Equipment LLC v. Apple Inc.​, No.

6:14-cv-00031 (E.D. Tex.); ​Cellular Communications Equipment LLC v. Apple Inc.​, No.

6:14-cv-00251 (E.D. Tex.); ​Cellular Communications Equipment LLC v. Samsung Electronics

Co., Ltd.​, No. 6:14-cv-00759 (E.D. Tex.); ​Cellular Communications Equipment LLC v. LG

Electronics, Inc.​, No. 6:14-cv-00982 (E.D. Tex.); ​Cellular Communications Equipment LLC v.

Sony Mobile Communications Inc.​, No. 6:14-cv-00983 (E.D. Tex.); ​Cellular Communications

Equipment LLC v. Pantech Co. Ltd​, No. 6:15-cv-00853 (E.D. Tex.); ​Cellular Communications

Equipment LLC v. HTC Corporation​, No. 6:16-cv-00363 (E.D. Tex.); ​Cellular Communications




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Equipment LLC v. Samsung Electronics Co., Ltd.​, No. 6:16-cv-00364 (E.D. Tex.); ​Cellular

Communications Equipment LLC v. LG Electronics, Inc.​, No. 6:16-cv-00365 (E.D. Tex.);

Cellular Communications Equipment LLC v. ZTE Corporation​, No. 6:16-cv-00375 (E.D. Tex.);

Cellular Communications Equipment LLC v. HTC Corporation​, No. 6:16-cv-00475 (E.D. Tex.);

Cellular Communications Equipment LLC v. ZTE Corporation​, No. 6:16-cv-00476 (E.D. Tex.);

Cellular Communications Equipment LLC v. Apple Inc.​, No. 6:17-cv-00146 (E.D. Tex.);

Cellular Communications Equipment LLC v. Apple Inc.​, No. 6:17-cv-00225 (E.D. Tex.);

Cellular Communications Equipment LLC v. AT&T Mobility, LLC​, No. 6:17-cv-00590 (E.D.

Tex.); and ​Cellular Communications Equipment LLC v. AT&T Mobility, LLC​, No.

6:17-cv-00592 (E.D. Tex.).

       11.     The word “concerning” means concerning, relating to, referring to, mentioning,

reflecting, pertaining to, evidencing, involving, describing, discussing, commenting on,

embodying, responding to, supporting, contradicting, or constituting in whole or in part.

       12.     The terms “including” or “that includes” mean including without limitation.

       13.     The word “document” includes all written, graphic or otherwise recorded

material, including microfilms or other film records or impressions, electronically stored

information regardless of the form of storage medium, tape recordings or computer cards, floppy

disks or printouts, papers, photographs, films, recordings, memoranda, books, records, accounts,

communications, letters, telegrams, correspondence, notes of meetings, notes of conversations,

notes of telephone calls, inter-office memoranda or written communications, recordings of

conversations either in writing or on any mechanical or electrical recording devices, including

email, notes, papers, reports, analyses, invoices, canceled checks or check stubs, receipts,




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minutes of meetings, time sheets, diaries, desk calendars, ledgers, schedules, licenses, financial

statements, telephone bills, logs, and any differing versions of any of the foregoing, whether so

denominated, formal, informal or otherwise, as well as copies of the foregoing which differ in

any way, including by the addition of handwritten notations or other written or printed matter of

any nature, from the original, and further includes information stored in a computer database and

capable of being generated in documentary form, such as electronic mail.

       14.     The word “communication” includes any transmission, conveyance or exchange

of a word, statement, fact, thing, idea, document, instruction, information, demand or question by

any medium, whether by written, oral or other means, including electronic communications and

electronic mail.

       15.     The word “person” includes any individual, corporation, proprietorship,

association, joint venture, company, partnership or other business or legal entity, including

governmental bodies and agencies.

       16.     Use of the singular also includes the plural and vice versa.

       17.     The words “or” and “and” shall have both the conjunctive and disjunctive

meaning whenever they appear, and shall not limit the scope of these requests.

       18.     A verb in any tense shall include that verb in all other tenses.

                                         INSTRUCTIONS

       1.      This subpoena seeks a response to the full extent permitted by the Federal Rules

of Civil Procedure.

       2.      This subpoena shall apply to all documents or things in your possession, custody

or control as of the date of service, or that later come into your possession, custody, or control.




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       3.      If any portion of a document or thing is responsive to a request, you shall produce

the entire document, communication, or thing, redacting only privileged material if any.

       4.      You shall produce the original and each copy of each document or thing

responsive to a request. If copies are identical you may produce only one copy if you provide

information sufficient to identify the custodian of each copy.

       5.      You shall produce each responsive document in its original file, not shuffled or

otherwise rearranged. If documents were stapled, clipped, or otherwise fastened together, you

shall produce them in that form.

       6.      You shall produce electronic records and computerized information in their native

electronic format, together with a description of the system from which you derived them

sufficient to render them intelligible.

       7.      You shall produce any things responsive to these requests in their present form,

not changed or modified in any way.

       8.      You shall produce each document or thing bearing a unique identifying control

numbers on each thing and on each page of a document.

       9.      You shall produce color copies of documents if the original is in color.

       10.     In the event that you withhold any documents or things responsive to these

requests on the basis of a claim of privilege or immunity from discovery, you shall identify each

such withheld document or thing as required by the Federal Rules of Civil Procedure and

applicable law, including by stating:

               (a)     the authors, addressees and any indicated or blind copyees;

               (b)     the date, number of pages and attachments;




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               (c)     all subject matters of the document or thing;

               (d)     each privilege or immunity you assert; and

               (e)     any additional facts on which you base your assertion of privilege or

                       immunity.

       11.     If such designations are appropriate, you may designate documents or things as

confidential under the protective order governing confidentiality in this action, ​Cellular

Communications Equipment LLC v. HMD Global Oy​, Case No. 2:20-cv-00078, Docket Nos. 31,

35 (E.D. Tex.). We have attached courtesy copies of these documents to this subpoena. If you

contend that you require any additional protections for your documents or things, while

addressing that question you shall produce all responsive documents and things under Patent

Local Rule 2-2 of the United States District Court for the Eastern District of Texas.

       12.     If no documents or things are responsive to a particular request, you shall state

that no responsive documents or things exist.

                               REQUESTS FOR PRODUCTION

       1.      All documents concerning any agreement between persons including               and

                     that includes any patent license.

       2.      All documents concerning any agreement executed concurrently with any

agreement between persons including                                    that includes any patent

license.

       3.      All documents concerning communications concerning any agreement between

persons including                                  that includes any patent license, or any




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agreement executed concurrently with any agreement between persons including

                   that includes any patent license.

       4.      All documents concerning communications concerning negotiations leading to

any agreement between persons including                                  that includes any patent

license, or any agreement executed concurrently with any agreement between persons including

                            Inc. that includes any patent license.

       5.      All documents concerning any agreement between ARC and any other person or

persons that includes any patent license including a patent owned in whole or part by one or

more Acacia Entities.

       6.      All documents concerning any agreement executed concurrently with any

agreement between ARC and any other person or persons that includes any patent license

including a patent owned in whole or part by one or more Acacia Entities.

       7.      All documents concerning communications concerning any agreement between

ARC and any other person or persons that includes any patent license including a patent owned

in whole or part by one or more Acacia Entities.

       8.      All documents concerning communications concerning negotiations leading to

any agreement between ARC and any other person or persons that includes any patent license

including a patent owned in whole or part by one or more Acacia Entities or any agreement

executed concurrently with any agreement between ARC and any other person or persons that

includes any patent license including a patent owned in whole or part by one or more

Acacia Entities.




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       9.      All documents concerning any agreement between ARC and any other person or

persons that includes any patent license including a patent that one or more Acacia Entities has

authority to license.

       10.     All documents concerning any agreement executed concurrently with any

agreement between ARC and any other person or persons that includes any patent license

including a patent that one or more Acacia Entities has authority to license.

       11.     All documents concerning communications concerning any agreement between

ARC and any other person or persons that includes any patent license including a patent that one

or more Acacia Entities has authority to license.

       12.     All documents concerning communications concerning negotiations leading to

any agreement between ARC and any other person or persons that includes any patent license

including a patent that one or more Acacia Entities has authority to license or any agreement

executed concurrently with any agreement between ARC and any other person or persons that

includes any patent license including a patent that one or more Acacia Entities has authority to

license.

       13.     All documents concerning all communications, including any proposals to

license, negotiations, discussions, offers to license, presentations, or any other communications,

regarding any potential agreement concerning the ’923 patent, including any potential license

including the ’923 patent

       14.     All documents concerning any right, title, or interest in the ’923 patent.

       15.     All documents concerning any valuations or attempts to value the ’923 patent or

any portfolio containing the ’923 patent.




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        16.     All documents concerning the relationship between ARC and CCE.

        17.     All communications concerning the relationship between ARC and CCE.

        18.     All documents concerning the “Assignment and Assumption Agreement” filed

with the United States Patent and Trademark Office at Patent Reel 033405, Frame 0104 to 0106.

        19.     All documents concerning the “Patent Security Agreement” filed with the United

States Patent and Trademark Office at Patent Reel 052853, Frame 0153 to 0404.

        20.     All documents concerning the “Release of Security Interest in Patents” filed with

the United States Patent and Trademark Office at Patent Reel 053654, Frame 0254 to 0489.

        21.     All documents concerning communications concerning the “Assignment and

Assumption Agreement,” “Patent Security Agreement,” or “Release of Security Interest in

Patents” described in the three preceding paragraphs.

        22.     All documents concerning any relationship between ARC and Starboard.

        23.     All communications concerning any relationship between ARC and Starboard.

        24.     All documents concerning this litigation or other CCE litigation.

        25.     All documents concerning communications between ARC and CCE concerning

this litigation or other CCE litigation.

        26.     All documents concerning communications between ARC and CCE concerning

any actual or potential litigation concerning the ’923 patent.




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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

CELLULAR COMMUNICATIONS                             §
EQUIPMENT LLC,                                      §
                                                    §
                Plaintiff,                          §
                                                    §
v.                                                  §   CIVIL ACTION NO. 2:20-CV-00078-JRG
                                                    §
HMD GLOBAL OY,                                      §
                                                    §
                Defendant.                          §

                                     PROTECTIVE ORDER

       WHEREAS, Plaintiff Cellular Communications Equipment LLC and Defendant HMD

Global Oy, hereafter referred to as “the Parties,” believe that certain information that is or will be

encompassed by discovery demands by the Parties involves the production or disclosure of trade

secrets, confidential business information, or other proprietary information;

       WHEREAS, the Parties seek a protective order limiting disclosure thereof in accordance

with Federal Rule of Civil Procedure 26(c):

       THEREFORE, it is hereby stipulated among the Parties and ORDERED that:

1.       Each Party may designate as confidential for protection under this Order, in whole or in

        part, any document, information or material that constitutes or includes, in whole or in

        part, confidential or proprietary information or trade secrets of the Party or a Third Party

        to whom the Party reasonably believes it owes an obligation of confidentiality with respect

        to such document, information or material (“Protected Material”). Protected Material shall

        be designated by the Party producing it by affixing a legend or stamp on such document,

        information or material as follows: “CONFIDENTIAL,” “HIGHLY CONFIDENTIAL -

        ATTORNEYS’ EYES ONLY,” or “HIGHLY CONFIDENTIAL - SOURCE CODE.”
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       The word(s) “CONFIDENTIAL,” “HIGHLY CONFIDENTIAL - ATTORNEYS’ EYES

       ONLY,” or “HIGHLY CONFIDENTIAL - SOURCE CODE shall be placed clearly on

       each page of the Protected Material (except deposition and hearing transcripts) for which

       such protection is sought. For deposition and hearing transcripts, the word(s)

       “CONFIDENTIAL,” “HIGHLY CONFIDENTIAL - ATTORNEYS’ EYES ONLY,” or

       “HIGHLY CONFIDENTIAL - SOURCE CODE” shall be placed on the cover page of the

       transcript (if not already present on the cover page of the transcript when received from

       the court reporter) by each attorney receiving a copy of the transcript after that attorney

       receives notice of the designation of some or all of that transcript as “CONFIDENTIAL.”

2.     Any document produced under Patent Rules 2-2, 3-2, and/or 3-4 before issuance of this

       Order with the designation “Confidential” or “Confidential - Outside Attorneys’ Eyes

       Only” shall receive the same treatment as if designated “HIGHLY CONFIDENTIAL -

       ATTORNEYS’ EYES ONLY” under this Order, unless and until such document is

       redesignated to have a different classification under this Order.

3.     With respect to documents, information, or material designated “CONFIDENTIAL,

       “HIGHLY CONFIDENTIAL - ATTORNEYS’ EYES ONLY,” or “HIGHLY

       CONFIDENTIAL - SOURCE CODE” (“DESIGNATED MATERIAL”),1 subject to the

       provisions herein and unless otherwise stated, this Order governs, without limitation: (a)

       all documents, electronically stored information, and/or things as defined by the Federal

       Rules of Civil Procedure; (b) all pretrial, hearing or deposition testimony, or documents




1
  The term DESIGNATED MATERIAL is used throughout this Protective Order to refer to the
class of materials designated as “CONFIDENTIAL,” “HIGHLY CONFIDENTIAL -
ATTORNEYS’ EYES ONLY,” or “HIGHLY CONFIDENTIAL - SOURCE CODE,” both
individually and collectively.
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      marked as exhibits or for identification in depositions and hearings; (c) pretrial pleadings,

      exhibits to pleadings and other court filings; (d) affidavits; and (e) stipulations. All copies,

      reproductions, extracts, digests and complete or partial summaries prepared from any

      DESIGNATED MATERIALS shall also be considered DESIGNATED MATERIAL and

      treated as such under this Order.

4.    A    designation    of   Protected    Material    (i.e.,   “CONFIDENTIAL,”          “HIGHLY

      CONFIDENTIAL - ATTORNEYS’ EYES ONLY,” or “HIGHLY CONFIDENTIAL -

      SOURCE CODE”) may be made at any time. Inadvertent or unintentional production of

      documents, information or material that has not been designated as DESIGNATED

      MATERIAL shall not be deemed a waiver in whole or in part of a claim for confidential

      treatment. Any party that inadvertently or unintentionally produces Protected Material

      without designating it as DESIGNATED MATERIAL may request destruction of that

      Protected Material by notifying the recipient(s), as soon as reasonably possible after the

      producing Party becomes aware of the inadvertent or unintentional disclosure, and

      providing replacement Protected Material that is properly designated. The recipient(s)

      shall then destroy all copies of the inadvertently or unintentionally produced Protected

      Materials and any documents, information or material derived from or based thereon.

5.    “CONFIDENTIAL” documents, information and material may be disclosed only to the

      following persons, except upon receipt of the prior written consent of the designating

      party, upon order of the Court, or as set forth in paragraph 12 herein:

          (a)     outside counsel of record in this Action for the Parties;

          (b)     employees of such counsel assigned to and reasonably necessary to assist such
                  counsel in the litigation of this Action;
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         (c)      in-house counsel for the Parties, including outside counsel performing the
                  functions of in-house counsel, who either have responsibility for making
                  decisions dealing directly with the litigation of this Action, or who are assisting
                  outside counsel of record in the litigation of this Action, provided that such in-
                  house and outside counsel complete the Undertaking attached as Appendix A
                  hereto and the same is served upon the producing Party;

         (d)      up to and including three (3) designated representatives of each of the Parties
                  to the extent reasonably necessary for the litigation of this Action, except that
                  either party may in good faith request the other party’s consent to designate
                  one or more additional representatives, the other party shall not unreasonably
                  withhold such consent, and the requesting party may seek leave of Court to
                  designate such additional representative(s) if the requesting party believes the
                  other party has unreasonably withheld such consent;

         (e)      outside consultants or experts (i.e., not existing employees or affiliates of a
                  Party or an affiliate of a Party) retained for the purpose of this litigation,
                  provided that: (1) such consultants or experts are not presently employed by
                  the Parties hereto for purposes other than this Action; (2) before access is
                  given, the consultant or expert has completed the Undertaking attached as
                  Appendix A hereto and the same is served upon the producing Party with a
                  current curriculum vitae of the consultant or expert at least ten (10) days before
                  access to the Protected Material is to be given to that consultant or Undertaking
                  to object to and notify the receiving Party in writing that it objects to disclosure
                  of Protected Material to the consultant or expert. The Parties agree to promptly
                  confer and use good faith to resolve any such objection. If the Parties are
                  unable to resolve any objection, the objecting Party may file a motion with the
                  Court within fifteen (15) days of the notice, or within such other time as the
                  Parties may agree, seeking a protective order with respect to the proposed
                  disclosure. The objecting Party shall have the burden of proving the need for a
                  protective order. No disclosure shall occur until all such objections are
                  resolved by agreement or Court order;

         (f)      independent litigation support services, including persons working for or as
                  court reporters, graphics or design services, interpreters or translators, jury or
                  trial consulting services, and photocopy, document imaging, and database
                  services retained by counsel and reasonably necessary to assist counsel with
                  the litigation of this Action; and

         (g)      the Court and its personnel.

6.    A Party shall designate documents, information or material as “CONFIDENTIAL” only

      upon a good faith belief that the documents, information or material contains confidential

      or proprietary information or trade secrets of the Party or a Third Party to whom the Party
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      reasonably believes it owes an obligation of confidentiality with respect to such documents,

      information or material.

7.    Documents, information or material produced pursuant to any discovery request in this

      Action, including but not limited to Protected Material designated as DESIGNATED

      MATERIAL, shall be used by the Parties only in the litigation of this Action and shall not

      be used for any other purpose. Any person or entity who obtains access to DESIGNATED

      MATERIAL or the contents thereof pursuant to this Order shall not make any copies,

      duplicates, extracts, summaries or descriptions of such DESIGNATED MATERIAL or any

      portion thereof except as may be reasonably necessary in the litigation of this Action. Any

      such copies, duplicates, extracts, summaries or descriptions shall be classified

      DESIGNATED MATERIALS and subject to all of the terms and conditions of this Order.

8.    To the extent a producing Party believes that certain Protected Material qualifying to be

      designated CONFIDENTIAL is so sensitive that its dissemination deserves even further

      limitation, the producing Party may designate such Protected Material “HIGHLY

      CONFIDENTIAL - ATTORNEYS’ EYES ONLY,” or to the extent such Protected

      Material includes computer source code and/or live data (that is, data as it exists residing

      in a database or databases) (“Source Code Material”), the producing Party may designate

      such Protected Material as “HIGHLY CONFIDENTIAL - SOURCE CODE.”

9.    For Protected Material designated HIGHLY CONFIDENTIAL - ATTORNEYS’ EYES

      ONLY, access to, and disclosure of, such Protected Material shall be limited to individuals

      listed in paragraphs 5(a-c) and (e-g); provided, however, that access by in-house counsel

      pursuant to paragraph 5(c) be limited to in-house counsel who exercise no competitive

      decision-making authority on behalf of the client.
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10.   For Protected Material designated HIGHLY CONFIDENTIAL - SOURCE CODE, the

      following additional restrictions apply:

      (a)    Access to a Party’s Source Code Material shall be provided only on “stand-alone”
             computer(s) (that is, the computer may not be linked to any network, including a
             local area network (“LAN”), an intranet or the Internet). The stand-alone
             computer(s) may be connected to (i) a printer, or (ii) a device capable of temporarily
             storing electronic copies solely for the limited purposes permitted pursuant to
             paragraphs 10 (h and k) below. Additionally, except as provided in paragraph 10(k)
             below, the stand-alone computer(s) may only be located at the offices of the
             producing Party’s outside counsel;

      (b)    The receiving Party shall inform the producing Party of its intent to inspect the
             stand-alone computer(s) at least three days prior to any inspection. The receiving
             Party shall make reasonable efforts to restrict its requests for such access to the
             stand-alone computer(s) to normal business hours, which for purposes of this
             paragraph shall be 8:00 a.m. through 6:00 p.m., local time. However, upon
             reasonable notice from the receiving party, the producing Party shall make
             reasonable efforts to accommodate the receiving Party’s request for access to the
             stand-alone computer(s) outside of normal business hours. The Parties agree to
             cooperate in good faith such that maintaining the producing Party’s Source Code
             Material at the offices of its outside counsel shall not unreasonably hinder the
             receiving Party’s ability to efficiently and effectively conduct the prosecution or
             defense of this Action;

      (c)    The producing Party shall provide the receiving Party with information explaining
             how to start, log on to, and operate the stand-alone computer(s) in order to access
             the produced Source Code Material on the stand-alone computer(s);

      (d)    The producing Party will produce Source Code Material in native format on the
             stand-alone computer(s) as described above. The producing Party shall install tools
             that are sufficient for viewing the Source Code Material. The receiving Party’s
             outside counsel and/or experts/consultants may request that additional
             commercially available software tools be installed on the stand-alone computer,
             provided, however, that (a) the receiving Party provides an appropriate license to
             such software tools; (b) the producing Party approves such software tools; and (c)
             such other software tools are reasonably necessary for the receiving Party to
             perform its review of the Source Code Material consistent with all of the protections
             herein. The producing Party shall not unreasonably withhold approval of
             reasonable requests for additional commercially available software tools. The
             receiving Party must provide the producing Party with the CD, DVD, file path, or
             Advanced Package Tool package containing such licensed software tool(s) at least
             five (5) business days in advance of the date upon which the receiving Party wishes
             to have the additional software tools available for use on the standalone computer;
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       (e)     Access to Protected Material designated HIGHLY CONFIDENTIAL - SOURCE
               CODE shall be limited to outside counsel and its employees and outside consultants
               or experts2 (i.e., not existing employees or affiliates of a Party or an affiliate of a
               Party) retained for the purpose of this litigation and approved to access such
               Protected Materials pursuant to paragraph 5(e) above, as well as those individuals
               in paragraphs 5(b), 5(f), and 5(g) above. A receiving Party may include excerpts of
               Source Code Material in a pleading, exhibit, expert report, discovery document,
               deposition transcript, other Court document, provided that the Source Code
               Materials are appropriately marked under this Order, restricted to those who are
               entitled to have access to them as specified herein, and, if filed with the Court, filed
               under seal in accordance with the Court’s rules, procedures and orders;

       (f)     To the extent portions of Source Code Material are quoted in a Source Code
               Document, either (1) the entire Source Code Document will be stamped and treated
               as HIGHLY CONFIDENTIAL - SOURCE CODE or (2) those pages containing
               quoted Source Code Material will be separately stamped and treated as HIGHLY
               CONFIDENTIAL - SOURCE CODE;

       (g)     Except as set forth in paragraph 10(k) below, no electronic copies of Source Code
               Material shall be made without prior written consent of the producing Party, except
               as necessary to create documents which, pursuant to the Court’s rules, procedures
               and order, must be filed or served electronically;

       (h)     The receiving Party shall be permitted to make three sets of printouts (including
               two sets of photocopies) of Source Code Material, all of which shall be designated
               and clearly labeled “HIGHLY CONFIDENTIAL - SOURCE CODE,” and the
               receiving Party shall maintain a log of all such files that are printed or photocopied.
               The receiving Party may print no more than a reasonable number of pages, unless
               otherwise agreed by the Parties, whose reasonable request for agreement shall not
               be withheld. The producing Party must ensure that all printed pages must indicate
               the original file name of the Source Code Material, and must additionally include
               either page and line numbers for the printed Source Code Material where applicable
               and/or some other coordinates or markers that identify the portion of the Source
               Code Material printed. Upon printing any such portions of Source Code, the printed
               pages shall be collected by the producing Party. The producing Party shall put Bates
               and line numbers, copy, and clearly label as “HIGHLY CONFIDENTIAL -
               SOURCE CODE” any pages printed by the receiving Party. Within three (3)
               business days of a request for pages, the producing Party shall either (i) provide one
               copy of such unobjected pages to the receiving Party and (ii) inform the requesting
               Party of its objection, if any, that the printed portions withheld are excessive and/or
               not done for a permitted purpose. Lead counsel shall meet and confer within four


2
 For the purposes of this paragraph, an outside consultant or expert is defined to include the outside
consultant’s or expert’s direct reports and other support personnel, such that the disclosure to a
consultant or expert who employs others within his or her firm to help in his or her analysis shall
count as a disclosure to a single consultant or expert.
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             business days of any such objection. If, after a lead counsel meet and confer, the
             producing Party and the receiving Party cannot resolve the objection, the receiving
             Party may file a Motion to Compel Production with the Court;

      (i)    Should such printouts or photocopies be transferred back to electronic media, such
             media shall be labeled “HIGHLY CONFIDENTIAL - SOURCE CODE” and shall
             continue to be treated as such;

      (j)    If the receiving Party’s outside counsel, consultants, or experts obtain printouts or
             photocopies of Source Code Material, the receiving Party shall ensure that such
             outside counsel, consultants, or experts keep the printouts or photocopies in a
             secured locked area in the offices of such outside counsel, consultants, or expert.
             The receiving Party may also temporarily keep the printouts or photocopies at: (i)
             the Court for any proceedings(s) relating to the Source Code Material, for the dates
             associated with the proceeding(s); (ii) the sites where any deposition(s) relating to
             the Source Code Material are taken, for the dates associated with the deposition(s);
             and (iii) any intermediate location reasonably necessary to transport the printouts
             or photocopies (e.g., a hotel prior to a Court proceeding or deposition); and

      (k)    A producing Party’s Source Code Material may only be transported by the
             receiving Party at the direction of a person authorized under paragraph 10(e) above
             to another person authorized under paragraph 10(e) above, on paper or removable
             electronic media (e.g., a DVD, CD-ROM, or flash memory “stick”) via hand carry,
             Federal Express or other similarly reliable courier. Source Code Material may not
             be transported or transmitted electronically over a network of any kind, including a
             LAN, an intranet, or the Internet. Source Code Material may only be transported
             electronically for the purpose of Court proceeding(s) or deposition(s) as set forth in
             paragraph 10(j) above and is at all times subject to the transport restrictions set forth
             herein. But, for those purposes only, the Source Code Materials may be loaded onto
             a stand-alone computer.

11.   Any attorney representing a Party, whether in-house or outside counsel, and any person

      associated with a Party and permitted to receive the other Party’s Protected Material that

      is designated HIGHLY CONFIDENTIAL - ATTORNEYS’ EYES ONLY and/or

      HIGHLY CONFIDENTIAL - SOURCE CODE (collectively “HIGHLY SENSITIVE

      MATERIAL”), who obtains, receives, has access to, or otherwise learns, in whole or in

      part, the other Party’s HIGHLY SENSITIVE MATERIAL under this Order shall not

      prepare, prosecute, supervise, or assist in the preparation or prosecution of any patent

      application pertaining to the field of the invention of the patents-in-suit on behalf of the
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      receiving Party or its acquirer, successor, predecessor, or other affiliate during the

      pendency of this Action and for one year after its conclusion, including any appeals. For

      purposes of this paragraph, “prosecution” includes drafting, amending, advising, or

      otherwise affecting the scope or maintenance of patent claims. Prosecution includes, for

      example, original prosecution, reissue, and reexamination. To avoid any doubt,

      “prosecution” as used in this paragraph does not include representing a party in a

      proceeding that challenges a patent before a domestic or foreign agency (including, but not

      limited to, a reissue protest, ex parte reexamination, inter partes reexamination, post grant

      review, covered business method patent review, or inter partes review). To ensure

      compliance with the purpose of this provision, each Party shall create an “Ethical Wall”

      between those persons with access to HIGHLY SENSITIVE MATERIAL and any

      individuals who, on behalf of the Party or its acquirer, successor, predecessor, or other

      affiliate, prepare, prosecute, supervise or assist in the preparation or prosecution of any

      patent as described above.

12.   Nothing in this Order shall require production of documents, information or other material

      that a Party contends is protected from disclosure by the attorney-client privilege, the work

      product doctrine, or other privilege, doctrine, or immunity. If documents, information or

      other material subject to a claim of attorney-client privilege, work product doctrine, or

      other privilege, doctrine, or immunity is inadvertently or unintentionally produced, such

      production shall in no way prejudice or otherwise constitute a waiver of, or estoppel as to,

      any such privilege, doctrine, or immunity. Any Party that inadvertently or unintentionally

      produces documents, information or other material it reasonably believes are protected

      under the attorney-client privilege, work product doctrine, or other privilege, doctrine, or
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      immunity may obtain the return or destruction of such documents, information or other

      material by promptly notifying the recipient(s) and providing a privilege log for the

      inadvertently or unintentionally produced documents, information or other material. At the

      producing Party’s election, the recipient(s) shall, gather and destroy or return all copies of

      such documents, information or other material to the producing Party. In the event the

      producing Party elects return of the documents, any pages containing privileged or

      otherwise protected markings by the recipient(s) shall instead be destroyed and certified as

      such to the producing Party.

13.   There shall be no disclosure of any DESIGNATED MATERIAL by any person authorized

      to have access thereto to any person who is not authorized for such access under this Order.

      The Parties are hereby ORDERED to safeguard all such documents, information and

      material to protect against disclosure to any unauthorized persons or entities.

14.   Nothing contained herein shall be construed to prejudice any Party’s right to use any

      DESIGNATED MATERIAL in taking testimony at any deposition or hearing provided

      that the DESIGNATED MATERIAL is only disclosed to a person(s) who is: (i) eligible to

      have access to the DESIGNATED MATERIAL by virtue of his or her employment with

      the designating party, (ii) identified in the DESIGNATED MATERIAL as an author,

      addressee, or copy recipient of such information, (iii) although not identified as an author,

      addressee, or copy recipient of such DESIGNATED MATERIAL, has, in the ordinary

      course of business, seen such DESIGNATED MATERIAL, (iv) a current or former officer,

      director or employee of the producing Party or a current or former officer, director or

      employee of a company affiliated with the producing Party; (v) counsel for a Party,

      including outside counsel and in-house counsel (subject to paragraph 9 of this Order); (vi)
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      an independent contractor, consultant, and/or expert retained for the purpose of this

      litigation and has been approved to receive DESIGNATED MATERIAL pursuant to

      section 5(e); (vii) court reporters and videographers; (viii) the Court; or (ix) other persons

      entitled hereunder to access to DESIGNATED MATERIAL. DESIGNATED MATERIAL

      shall not be disclosed to any other persons unless prior authorization is obtained from

      counsel representing the producing Party or from the Court.

15.   Parties may, at the deposition or hearing or within thirty (30) days after receipt of a

      deposition or hearing transcript, designate the deposition or hearing transcript or any

      portion thereof as “CONFIDENTIAL,” “HIGHLY CONFIDENTIAL - ATTORNEY’

      EYES ONLY,” or “HIGHLY CONFIDENTIAL - SOURCE CODE” pursuant to this

      Order. Access to the deposition or hearing transcript so designated shall be limited in

      accordance with the terms of this Order. Until expiration of the 30-day period, the entire

      deposition or hearing transcript shall be treated as confidential.

16.   Any DESIGNATED MATERIAL that is filed with the Court shall be filed under seal and

      shall remain under seal until further order of the Court. The filing party shall be responsible

      for informing the Clerk of the Court that the filing should be sealed and for placing the

      legend “FILED UNDER SEAL PURSUANT TO PROTECTIVE ORDER” above the

      caption and conspicuously on each page of the filing. Exhibits to a filing shall conform to

      the labeling requirements set forth in this Order. If a pretrial pleading filed with the Court,

      or an exhibit thereto, discloses or relies on confidential documents, information or material,

      such confidential portions shall be redacted to the extent necessary and the pleading or

      exhibit filed publicly with the Court.
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17.   The Order applies to pretrial discovery. Nothing in this Order shall be deemed to prevent

      the Parties from introducing any DESIGNATED MATERIAL into evidence at the trial of

      this Action, or from using any information contained in DESIGNATED MATERIAL at

      the trial of this Action, subject to any pretrial order issued by this Court.

18.   A Party may request in writing to the other Party that the designation given to any

      DESIGNATED MATERIAL be modified or withdrawn. If the designating Party does not

      agree to redesignation within ten (10) days of receipt of the written request, the requesting

      Party may apply to the Court for relief. Upon any such application to the Court, the burden

      shall be on the designating Party to show why its classification is proper. Such application

      shall be treated procedurally as a motion to compel pursuant to Federal Rules of Civil

      Procedure 37, subject to the Rule’s provisions relating to sanctions. In making such

      application, the requirements of the Federal Rules of Civil Procedure and the Local Rules

      of the Court shall be met. Pending the Court’s determination of the application, the

      designation of the designating Party shall be maintained.

19.   Each outside consultant or expert to whom DESIGNATED MATERIAL is disclosed in

      accordance with the terms of this Order shall be advised by counsel of the terms of this

      Order, shall be informed that he or she is subject to the terms and conditions of this Order,

      and shall sign an acknowledgment that he or she has received a copy of, has read, and has

      agreed to be bound by this Order. A copy of the acknowledgment form is attached as

      Appendix A.

20.   To the extent that any discovery is taken of persons who are not Parties to this Action

      (“Third Parties”) and in the event that such Third Parties contended the discovery sought
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      involves trade secrets, confidential business information, or other proprietary information,

      then such Third Parties may agree to be bound by this Order.

21.   To the extent that discovery or testimony is taken of Third Parties, the Third Parties may

      designate as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL - ATTORNEYS’ EYES

      ONLY” any documents, information or other material, in whole or in part, produced or

      given by such Third Parties. The Third Parties shall have ten (10) days after production of

      such documents, information or other materials to make such a designation. Until that time

      period lapses or until such a designation has been made, whichever occurs sooner, all

      documents, information or other material so produced or given shall be treated as

      “CONFIDENTIAL” in accordance with this Order.

22.   Within thirty (30) days of final termination of this Action, including any appeals, all

      DESIGNATED MATERIAL, including all copies, duplicates, abstracts, indexes,

      summaries, descriptions, and excerpts or extracts thereof (excluding excerpts or extracts

      incorporated into any privileged memoranda of the Parties and materials which have been

      admitted into evidence in this Action), shall at the producing Party’s election either be

      returned to the producing Party or be destroyed. The receiving Party shall verify the return

      or destruction by a letter furnished to the producing Party. Notwithstanding this provision,

      outside counsel for the Parties may retain one set of pleadings, correspondence, and

      attorney and consultant work product (but not document productions) for archival

      purposes, but must return or destroy any pleadings, correspondence, and consultant work

      product that contain Source Code Material.

23.   The failure to designate documents, information or material in accordance with this Order

      and the failure to object to a designation at a given time shall not preclude the filing of a
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      motion at a later date seeking to impose such designation or challenging the propriety

      thereof. The entry of this Order and/or the production of documents, information and

      material hereunder shall in no way constitute a waiver of any objection to the furnishing

      thereof, all such objections being hereby preserved.

24.   Any Party knowing or believing that any other party is in violation of or intends to violate

      this Order and has raised the question of violation or potential violation with the opposing

      party and has been unable to resolve the matter by agreement may move the Court for such

      relief as may be appropriate in the circumstances. Pending disposition of the motion by the

      Court, the Party alleged to be in violation of or intending to violate this Order shall

      discontinue the performance of and/or shall not undertake the further performance of any

      action alleged to constitute a violation of this Order.

25.   Production of DESIGNATED MATERIAL by each of the Parties shall not be deemed a

      publication of the documents, information and material (or the contents thereof) produced

      so as to void or make voidable whatever claim the Parties may have as to the proprietary

      and confidential nature of the documents, information or other material or its contents.

26.   Nothing in this Order shall be construed to effect an abrogation, waiver or limitation of any

      kind on the rights of each of the Parties to assert any applicable discovery or trial privilege.

27.   Each of the Parties shall also retain the right to file a motion with the Court (a) to modify

      this Order to allow disclosure of DESIGNATED MATERIAL to additional persons or

      entities if reasonably necessary to prepare and present this Action and (b) to apply for

      additional protection of DESIGNATED MATERIAL.
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   So ORDERED and SIGNED this 14th day of August, 2020.




                                            ____________________________________
                                            RODNEY GILSTRAP
                                            UNITED STATES DISTRICT JUDGE
 Case2:20-cv-00078-JRG
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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                              MARSHALL DIVISION

 CELLULAR COMMUNICATIONS                         §
 EQUIPMENT LLC,                                  §
                                                 §
              Plaintiff,                         §
                                                 §
 v.                                              §   CIVIL ACTION NO. 2:20-CV-00078-JRG
                                                 §
 HMD GLOBAL OY,                                  §
                                                 §
              Defendant.                         §

                            APPENDIX A
         UNDERTAKING OF EXPERTS OR CONSULTANTS REGARDING
                        PROTECTIVE ORDER

      I, ___________________________________________, declare that:

1.    My address is _________________________________________________________. My

      current employer is _________________________________________________. My

      current occupation is ________________________________________________.

2.    I have received a copy of the Protective Order in this action. I have carefully read and

      understand the provisions of the Protective Order.

3.    I will comply with all of the provisions of the Protective Order. I will hold in confidence,

      will not disclose to anyone not qualified under the Protective Order, and will use only for

      purposes of this action any information designated as “CONFIDENTIAL,” “HIGHLY

      CONFIDENTIAL - ATTORNEYS’ EYES ONLY,” or “HIGHLY CONFIDENTIAL -

      SOURCE CODE” that is disclosed to me.

4.    Promptly upon termination of these actions, I will return all documents and things

      designated as “CONFIDENTIAL,” “HIGHLY CONFIDENTIAL - ATTORNEYS’ EYES
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      ONLY,” or “HIGHLY CONFIDENTIAL - SOURCE CODE” that came into my

      possession, and all documents and things that I have prepared relating thereto, to the

      outside counsel for the party by whom I am employed.

5.    I hereby submit to the jurisdiction of this Court for the purpose of enforcement of the

      Protective Order in this action.

      I declare under penalty of perjury that the foregoing is true and correct.



Signature ________________________________________

Date ____________________________________________
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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

CELLULAR COMMUNICATIONS                           §
EQUIPMENT LLC,                                    §
                                                  §
                Plaintiff,                        §
                                                  §
v.                                                §   CIVIL ACTION NO. 2:20-CV-00078-JRG
                                                  §
HMD GLOBAL OY,                                    §
                                                  §
                Defendant.                        §

  STIPULATED SUPPLEMENTAL PROTECTIVE ORDER REGARDING CERTAIN
               NON-PARTY CONFIDENTIAL INFORMATION

       WHEREAS, The Honorable Judge Rodney Gilstrap entered a Protective Order in this

matter on August 14, 2020 to govern discovery in the above-captioned matter (Dk. No. 31, the

“Protective Order”);

       WHEREAS, Plaintiff Cellular Communications Equipment LLC (“Plaintiff”) and

Defendant HMD Global Oy (“Defendant”) (collectively, the “Parties”) may produce documents

that include or incorporate confidential non-party information;

       WHEREAS, a Party may be contractually obligated to produce certain documents that

include or incorporate confidential non-party information pursuant to a confidentiality designation

of Outside Attorneys’ Eyes Only;

       IT IS HEREBY ORDERED that documents which a Party is contractually obligated to

produce with confidentiality designation of Outside Attorneys’ Eyes Only or higher, may be

designated as “HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY.” The

Definition of Protected Material in the Protective Order shall include documents designated as

“HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY.”
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       “HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY” documents,

information, and material may be disclosed only to the persons identified in Paragraph 5(a-b) and

(e-g) of the Protective Order, except upon receipt of the prior written consent of the designating

party, upon order of the Court, or as set forth in paragraph 12 of the Protective Order.

      So ORDERED and SIGNED this 9th day of September, 2020.




                                                         ____________________________________
                                                         RODNEY GILSTRAP
                                                         UNITED STATES DISTRICT JUDGE
